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                                   Per Curiam

         SUPREME COURT OF THE UNITED STATES
         CITY OF TAHLEQUAH, OKLAHOMA, ET AL. v. AUSTIN
          P. BOND, AS SPECIAL ADMINISTRATOR OF THE ESTATE OF
                   DOMINIC F. ROLLICE, DECEASED
            ON PETITION FOR WRIT OF CERTIORARI TO THE UNITED
             STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                      No. 20–1668. Decided October 18, 2021

            PER CURIAM.
            On August 12, 2016, Dominic Rollice’s ex-wife, Joy, called
         911. Rollice was in her garage, she explained, and he was
         intoxicated and would not leave. Joy requested police as-
         sistance; otherwise, “it’s going to get ugly real quick.” 981
         F. 3d 808, 812 (CA10 2020). The dispatcher asked whether
         Rollice lived at the residence. Joy said he did not but ex-
         plained that he kept tools in her garage.
            Officers Josh Girdner, Chase Reed, and Brandon Vick re-
         sponded to the call. All three knew that Rollice was Joy’s
         ex-husband, was intoxicated, and would not leave her
         home.
            Joy met the officers out front and led them to the side
         entrance of the garage. There the officers encountered Rol-
         lice and began speaking with him in the doorway. Rollice
         expressed concern that the officers intended to take him to
         jail; Officer Girdner told him that they were simply trying
         to get him a ride. Rollice began fidgeting with something
         in his hands and the officers noticed that he appeared nerv-
         ous. Officer Girdner asked if he could pat Rollice down for
         weapons. Rollice refused.
            Police body-camera video captured what happened next.
         As the conversation continued, Officer Girdner gestured
         with his hands and took one step toward the doorway, caus-
         ing Rollice to take one step back. Rollice, still conversing
         with the officers, turned around and walked toward the
         back of the garage where his tools were hanging over a
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         workbench. Officer Girdner followed, the others close be-
         hind. No officer was within six feet of Rollice. The video is
         silent, but the officers stated that they ordered Rollice to
         stop. Rollice kept walking. He then grabbed a hammer
         from the back wall over the workbench and turned around
         to face the officers. Rollice grasped the handle of the ham-
         mer with both hands, as if preparing to swing a baseball
         bat, and pulled it up to shoulder level. The officers backed
         up, drawing their guns. At this point the video is no longer
         silent, and the officers can be heard yelling at Rollice to
         drop the hammer.
            He did not. Instead, Rollice took a few steps to his right,
         coming out from behind a piece of furniture so that he had
         an unobstructed path to Officer Girdner. He then raised
         the hammer higher back behind his head and took a stance
         as if he was about to throw the hammer or charge at the
         officers. In response, Officers Girdner and Vick fired their
         weapons, killing Rollice.
            Rollice’s estate filed suit against, among others, Officers
         Girdner and Vick, alleging that the officers were liable un-
         der 42 U. S. C. §1983, for violating Rollice’s Fourth Amend-
         ment right to be free from excessive force. The officers
         moved for summary judgment, both on the merits and on
         qualified immunity grounds. The District Court granted
         their motion. Burke v. Tahlequah, 2019 WL 4674316, *6
         (ED Okla., Sept. 25, 2019). The officers’ use of force was
         reasonable, it concluded, and even if not, qualified immun-
         ity prevented the case from going further. Ibid.
            A panel of the Court of Appeals for the Tenth Circuit re-
         versed. 981 F. 3d, at 826. The Court began by explaining
         that Tenth Circuit precedent allows an officer to be held li-
         able for a shooting that is itself objectively reasonable if the
         officer’s reckless or deliberate conduct created a situation
         requiring deadly force. Id., at 816. Applying that rule, the
         Court concluded that a jury could find that Officer Girdner’s
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         initial step toward Rollice and the officers’ subsequent “cor-
         nering” of him in the back of the garage recklessly created
         the situation that led to the fatal shooting, such that their
         ultimate use of deadly force was unconstitutional. Id., at
         823. As to qualified immunity, the Court concluded that
         several cases, most notably Allen v. Muskogee, 119 F. 3d 837
         (CA10 1997), clearly established that the officers’ conduct
         was unlawful. 981 F. 3d, at 826. This petition followed.
            We need not, and do not, decide whether the officers vio-
         lated the Fourth Amendment in the first place, or whether
         recklessly creating a situation that requires deadly force
         can itself violate the Fourth Amendment. On this record,
         the officers plainly did not violate any clearly established
         law.
            The doctrine of qualified immunity shields officers from
         civil liability so long as their conduct “does not violate
         clearly established statutory or constitutional rights of
         which a reasonable person would have known.” Pearson v.
         Callahan, 555 U. S. 223, 231 (2009). As we have explained,
         qualified immunity protects “ ‘all but the plainly incompe-
         tent or those who knowingly violate the law.’ ” District of
         Columbia v. Wesby, 583 U. S. ___, ___ –___ (2018) (slip op.,
         at 13–14) (quoting Malley v. Briggs, 475 U. S. 335, 341
         (1986)).
            We have repeatedly told courts not to define clearly es-
         tablished law at too high a level of generality. See, e.g.,
         Ashcroft v. al-Kidd, 563 U. S. 731, 742 (2011). It is not
         enough that a rule be suggested by then-existing precedent;
         the “rule’s contours must be so well defined that it is ‘clear
         to a reasonable officer that his conduct was unlawful in the
         situation he confronted.’ ” Wesby, 583 U. S., at ___ (slip op.,
         at 14) (quoting Saucier v. Katz, 533 U. S. 194, 202 (2001)).
         Such specificity is “especially important in the Fourth
         Amendment context,” where it is “sometimes difficult for an
         officer to determine how the relevant legal doctrine, here
         excessive force, will apply to the factual situation the officer
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         confronts.” Mullenix v. Luna, 577 U. S. 7, 12 (2015) (per
         curiam) (internal quotation marks omitted).
            The Tenth Circuit contravened those settled principles
         here. Not one of the decisions relied upon by the Court of
         Appeals—Estate of Ceballos v. Husk, 919 F. 3d 1204 (CA10
         2019), Hastings v. Barnes, 252 Fed. Appx. 197 (CA10 2007),
         Allen, 119 F. 3d 837, and Sevier v. Lawrence, 60 F. 3d 695
         (CA10 1995)—comes close to establishing that the officers’
         conduct was unlawful. The Court relied most heavily on
         Allen. But the facts of Allen are dramatically different from
         the facts here. The officers in Allen responded to a potential
         suicide call by sprinting toward a parked car, screaming at
         the suspect, and attempting to physically wrest a gun from
         his hands. 119 F. 3d, at 841. Officers Girdner and Vick, by
         contrast, engaged in a conversation with Rollice, followed
         him into a garage at a distance of 6 to 10 feet, and did not
         yell until after he picked up a hammer. We cannot conclude
         that Allen “clearly established” that their conduct was reck-
         less or that their ultimate use of force was unlawful.
            The other decisions relied upon by the Court of Appeals
         are even less relevant. As for Sevier, that decision merely
         noted in dicta that deliberate or reckless preseizure conduct
         can render a later use of force excessive before dismissing
         the appeal for lack of jurisdiction. See 60 F. 3d, at 700–701.
         To state the obvious, a decision where the court did not even
         have jurisdiction cannot clearly establish substantive con-
         stitutional law. Regardless, that formulation of the rule is
         much too general to bear on whether the officers’ particular
         conduct here violated the Fourth Amendment. See al-Kidd,
         563 U. S., at 742. Estate of Ceballos, decided after the
         shooting at issue, is of no use in the clearly established in-
         quiry. See Brosseau v. Haugen, 543 U. S. 194, 200, n. 4
         (2004) (per curiam). And Hastings, an unpublished deci-
         sion, involved officers initiating an encounter with a poten-
         tially suicidal individual by chasing him into his bedroom,
         screaming at him, and pepper-spraying him. 252 Fed.
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         Appx., at 206. Suffice it to say, a reasonable officer could
         miss the connection between that case and this one.
            Neither the panel majority nor the respondent have iden-
         tified a single precedent finding a Fourth Amendment vio-
         lation under similar circumstances. The officers were thus
         entitled to qualified immunity.
            The petition for certiorari and the motions for leave to file
         briefs amici curiae are granted, and the judgment of the
         Court of Appeals is reversed.
                                                       It is so ordered.
